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               IN THE UNITED STATES DISTRICT COURT FOR THE
              MIDDLE DISTRICT OF ALABAMA NORTHERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
              Plaintiff,                    )
                                            )
vs.                                         ) Case No.: 2:21-cr-49-MHT-JTA-6
                                            )
THOMAS MICHAEL SISK,                        )
                                            )
              Defendant.                    )
                                            )

                            RESPONSE TO JUDGE’S ORDER

       COMES NOW, the Defendant, THOMAS MICHAEL SISK, by and through his
undersigned attorney, files this his Response to Judge’s Order, document number 92.

       1. The Defendant offers his consent to enter his plea before a Magistrate Judge.

       2. The Defendant offers his consent to proceed by video teleconference for the change
          of plea hearing.

       3. The parties have reached a plea agreement and to delay the plea would not be in the
          interest of justice given the high volume of Discovery and the nature of Defendant’s
          plea agreement with the Government.

       Done on this the 2nd day of April 2021.

                                            /s/ Russell W. Crumbley
                                            _________________________________
                                            RUSSELL W. CRUMBLEY (CRU013)
                                            Attorney for Defendant
                                            2304 Memorial Parkway SW
                                            Huntsville, Alabama 35801
                                            Telephone: (256) 539-4464
                                            Facsimile: (256) 539-4462
                                            Email: crumbleylaw@gmail.com

                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing has been served on the Acting United
States Attorney, by electronic notification via CM/ECF done on this the 2nd day of April 2021.
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                              /s/ Russell W. Crumbley
                              _________________________________
                              Russell W. Crumbley
